                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                    WESTERN DIVISION
                             Civil Action No.: 5:17-cv-00554-BO

                                                  )
EPIC GAMES, INC.,                                 )
                                                  )
               Plaintiff,                         )
                                                  )
v.                                                )         NOTICE OF SETTLEMENT AND
                                                  )           VOLUNTARY DISMISSAL
M. F., by his general guardian, Mark Foret,       )
                                                  )
               Defendant.                         )
                                                  )
                                                  )
                                                  )


       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff Epic

Games, Inc., by and through its attorneys, hereby gives notice of the settlement and dismissal of

this action. Each party shall bear its or his own attorneys’ fees and costs.

       This the 24th day of January, 2018.

                                              PARKER POE ADAMS & BERNSTEIN LLP

                                              /s/Christopher M. Thomas
                                              Christopher M. Thomas
                                              N.C. Bar No. 31834
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                                              Attorneys for Plaintiff Epic Games, Inc.




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                               CERTIFICATE OF SERVICE

       This is to certify that a copy of the foregoing NOTICE OF SETTLEMENT AND

VOLUNTARY DISMISSAL was electronically filed this day with the Clerk of Court and a

copy was served by U.S. Mail addressed to the following:

                 M. F. c/o Mark Foret
                 272 St. Philip Street
                 Raceland, LA
                 70394


       This the 24th day of January, 2018.



                                             PARKER POE ADAMS & BERNSTEIN LLP

                                             /s/Christopher M. Thomas
                                             Christopher M. Thomas
                                             N.C. Bar No. 31834
                                             christhomas@parkerpoe.com
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